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                                   3                                 UNITED STATES DISTRICT COURT

                                   4                             NORTHERN DISTRICT OF CALIFORNIA

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                                   6     JERICHO NICOLAS, et al.,
                                                                                        Case No. 19-cv-08228-PJH
                                   7                   Plaintiffs,

                                   8            v.                                      ORDER VACATING ORDER DENYING
                                                                                        MOTION FOR LEAVE TO FILE
                                   9     UBER TECHNOLOGIES, INC.,                       AMICUS BRIEF AND GRANTING
                                                                                        REQUESTED LEAVE
                                  10                   Defendant.
                                                                                        Re: Dkt. No. 58, 60
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                                  12
Northern District of California




                                              On March 10, 2021, the Partnership for Working Families and the California
 United States District Court




                                  13   Employment Lawyers Association (collectively, “Amici”) filed a motion for leave to file an
                                  14   amicus brief. Dkt. 58. Amici filed their proposed brief as an attachment to their motion.
                                  15   Dkt. 58-1. On March 11, 2021, the court denied Amici’s motion. Dkt. 60. On further
                                  16   consideration, the court VACATES its order denying Amici’s motion for leave to file their
                                  17   brief and instead GRANTS that motion. Amici need not refile their brief.
                                  18          Importantly, the court finds that Amici effectively raised and analyzed various
                                  19   issues pertaining to defendant’s argument in its motion to dismiss (Dkt. 46) that California
                                  20   Business & Professions Code § 7451 abates plaintiffs’ state law claims. Several of these
                                  21   issues were neither raised nor discussed in the parties’ briefing and the court finds the
                                  22   discussion helpful in its consideration of the application of the abatement doctrine to this
                                  23   case. The motion remains under submission and the court is not inviting nor will it
                                  24   entertain any responses to the amicus brief.
                                  25          IT IS SO ORDERED.
                                  26   Dated: May 5, 2021
                                  27                                                /s/ Phyllis J. Hamilton
                                                                                    PHYLLIS J. HAMILTON
                                  28                                                United States District Judge
